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12
                               UNITED STATES DISTRICT COURT
13                           NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
14
15                                               Case No.: 4:20-CV-03919-CW
16
17                                                      NOTICE OF APPEAL FROM A
     IN RE: COLLEGE ATHLETE NIL
18   LITIGATION                                      JUDGMENT OR ORDER OF A UNITED
                                                         STATES DISTRICT COURT
19
20                                               Hon. Claudia Wilken
21
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28                     NOTICE OF APPEAL FROM A JUDGMENT OR ORDER OF
                               A UNITED STATES DISTRICT COURT
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 1        Notice is hereby given that Objectors in the above named case, KACIE BREEDING, LEXI

 2 DRUMM, EMMA APPLEMAN, EMMIE WANNEMACHER, RILEY HASS, KATE JOHNSON,
 3 SAVANAH BARON, ELIZABETH ARNOLD, hereby appeal to the United States Court of Appeals for
 4
     the Ninth Circuit the following orders and judgments dated June 6, 2025 in Case Number 4:20-cv-03919
 5
     CW in the U.S. District Court for the Northern District of California, which was filed on June 15, 2020:
 6
     Order Granting Plaintiffs’ Motion for Final Settlement Approval As Modified (ECF No. 979), the
 7
 8 accompanying Opinion Regarding Order Granting Motion For Final Settlement Approval of Settlement
 9 Agreement (ECF No. 978), and the Final Judgment of Dismissal With Prejudice As to Defendants
10 National Collegiate Athletic Association, Atlantic Coast Conference, The Big Ten Conference, Inc., The
11
     Big 12 Conference, Inc., Pac-12 Conference and Southeastern Conference As Modified (ECF No. 980).
12
          The fee for appeal has been paid. This is not a cross appeal and there has been no prior appeal filed.
13
14        A Local Rule 3-2 Representation Statement is attached hereto.
15              Dated June 11, 2025
16                                                      By: /s/ John Clune
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1                        LOCAL RULE 3-2 REPRESENTATION STATEMENT

2    1) Objectors and Appellants in this matter are represented by:
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9    2) Plaintiffs and Appellees Grant House, Tymir Oliver and Sedona Prince, are represented in this
     matter by Class Counsel:
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      Steve W. Berman                                  Jeffrey L. Kessler
11    Emilee Sisco                                     David G. Feher
12    Stephanie Verdoia                                David L. Greenspan
      Meredith Simons                                  Adam I. Dale
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     3) Defendants and Appellee National Collegiate Athletic Association is represented in this matter
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     4) Defendant and Appellee Pac-12 Conference in this matter is represented by:
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6    5) Defendant and Appellee The Big Ten Conference, Inc. in this matter is represented by:
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15   8) Defendant and Appellee Atlantic Coast Conference in this matter is represented by:
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1
2        Dated June 11, 2025

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